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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.: 23-60070-CIV-DIMITROULEAS

  FIRESTONE FINANCIAL, LLC,

           Plaintiff,

  vs.

  AMERICA'S ATM LLC, and
  BRADFORD MICHAEL DANIEL,

        Defendants.
  ______________________________________/

        NOTICE OF WITHDRAWAL OF DEFENDANTS' DEMAND FOR JURY TRIAL

           Defendants, AMERICA'S ATM LLC ("ATM") and BRADFORD MICHAEL DANIEL

  ("DANIEL") (collectively, the “Defendants”) by and through undersigned counsel, hereby files

  this Notice of Withdrawal of Defendants' Demand for Jury Trial, originally contained in the

  Defendants Answer and Affirmative Defenses [ECF No. 21], and as grounds therefore states:

           1.       In Defendants Answer and Affirmative Defenses, Defendants included a section

  titled “Demand for Jury Trial” which states “Defendants demand a jury trial on all issues so

  triable.” [ECF No. 21, p. 9].

           2.       Due to various "Waiver of Jury Trial" provisions contained within the agreements

  that are the basis of Plaintiff's Second Amended Complaint [ECF No. 20], Defendants

  acknowledge that, at this time, there are no issues so triable by a jury. Therefore, Defendants seek

  to withdraw its Demand for Jury Trial.

           3.       Pursuant to Rule 38, "[a] proper demand [for jury trial] may be withdrawn only if

  the parties consent." Fed. R. Civ. P. 38(d).




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           4.       Defendants' counsel conferred with Plaintiff's counsel, Matthew Krause, via email

  on May 15, 2023, and Plaintiff agrees to Defendants' withdrawal of their Demand for Jury Trial.

           5.       Accordingly, Defendants withdraw their Demand for Jury Trial.

                                                         Respectfully submitted,

                                                         TRIPP SCOTT, P.A.
                                                         Attorneys for Defendants
                                                         America's ATM LLC and Bradford
                                                         Michael Daniel
                                                         110 S.E. 6TH Street, Suite 1500
                                                         Fort Lauderdale, FL 33301
                                                         (Telephone) (954) 525-7500
                                                         (Facsimile) (954) 761-8475

                                                         By: /s/ Corey D. Cohen
                                                         CHARLES M. TATELBAUM
                                                         Florida Bar No. 177540
                                                         cmt@trippscott.com
                                                         hbb@trippscott.com
                                                         COREY D. COHEN
                                                         Florida Bar No. 1024891
                                                         cdc@trippscott.com
                                                         eservice@trippscott.com

                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the Motion to Withdraw Demand

  for Jury Trial was filed via this Court's CM/ECF system which sent notice to all those entitled to

  service on this 16th day of May, 2023.


                                                         By: /s/ Corey D. Cohen
                                                         COREY D. COHEN




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